USDA                                    Unltod States Department ol Agricutture
                                       Animal and Plant HoaHh 1nspec1ion Service                                    -~·
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                                                 Inspection Report
Pamela Sellner
Tom Sellner                                                       Customer I0 : S143
Cricket HollOw Zoo                                                   Cortllicate· 42-C-0084
1512 210th Stree1
Manchester, lA 52057                                                        Slie· 001
                                                                           l (:lf.t l PAUQ..A SEU.HER


                                                                          Type· ROUTINE INSPECTION
                                                                           Date· JIA-31-2013

 2.131          (d)      (2)
HANDUNO OF ANIMALS.
Seclion2.t3t(d)(2) - n g o l -                 A~. ~. andreadily_emplo,...,Ot
aneOOanl.-bopr._.., ai,.,_<Mng ~ol~c:ont.act-
.....There is noc., identiliable anendanc- ntal ,.,_-tho~ o s - oonlliCI- the arimals.
The ~ liS alowed ac::cess to the 81N surrounding the enclosutethal hOuSeS one goat and one sheep. The public
is also- access 10 the animals """sed on Oithot ..,. o1 tho tong notrow oonldof that runs lrom llle OO)'Ote
 enclosures out to the lama rleld. These animal& include OOftiS., sheet). a camel, and Olher hoofstock. The publici$
 allowed to contact the animals through the tneloMJre fencing. The abMnce of an attQI'ldant in these areas endangers
 tile hoabh ol the animals by alowing activity (rough handling, i"l"'POr toodlng. etc.) that is harmlulto tile animals.
 The licensee ~st ensure that when the pUblic it present an ea&tly identtflable attendant is present in these areas.
 To be COC'rected from this date forward.


3.29            (a)
 FEEDING.
Section 3.29(a) • Feeding. Guinea plos and hamsters shaJI be ted each day except as otherwise might be required to
provide adequate vetet"inary care. Tho food shall be troo ttom contaminabOn, wholesome. palatable and of suffcient
quantrly and nuuitlvo value to moot thO normal doUy roqulromonts lor tho cond!t!oo and slzo of tho gulooa pig or
hamster•

.....There were contaminants In the foOd recec:»tocle ln the guinea pig onclosuro. There was a mbcture of bedding
and feed along with three or tour bits ot lec&a in the loOd reoeptt~cte . All food mu$1 be palatable and tree of
contamination. The food teceptoole muaa be cleaned more frequently and placed so lhal the foOd is not
contaml.natcd.
To be corrected by: Aug 17, 2013.




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                                  JEFFREY E:t-J : ER. [' V M
Pr01)ared By:
                      JEf REV T BAK   -•   • M         USDA.       S. Ani al Care                       Date:
     Title:           VETERINARY MEDlCAL OfflCER       '""*'"' 4052                                 Aug-OS-2013

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3.75           (e)                               REPEAT
 HOUSING FAClUTIES. GEN ERAL.
REPEAT Secbon 3 75(e) StotiQO. Sop()ties ol food and bcOjing tor non..fluman primates must be s1ored in a
manner that protects the $Upplin from spoilage, oonlam.natiOn, and vermll'l in1estation. The supplies must be stored
off lhe hoor and away from lhe watll. 10 allow cleaning undomoalh and around lhe supplk!s. Food requiring
refrigeration ~ be stored 8CCOfdingly, and at1 food must be swrod in a manner that prevents oonmminalion and
de!enoration ol its nulritive vatu.. Onty N food and bidding a.rrenlly betnQ used may be kep1 in animal areas, and
wllen nor In aduaf use, _ . food and be<lcMg    """"*must be"""'      In loafqJroof oontalnom with tightly fOIMg lids 10
prevent spoiage and comamlnalion•

 ..... The foodSIOI1IgO""""'-..
                                              oon---
                                    difly. In lhe S10f000 area Wl$1dolhe lemur and ooali-.g.-·-•,_,.
feceo, fealhers, 611, and dry food- on ll1e floo<. There-~ and oollnel>o on the wire enclosing the
- a r e a. The refrigerator    In ""'-                                   of fnil (Ofll)les and oranges) - - • .-y
aroor rotten Some pieces of lhe '""' hllclaiiUbotanoo (-.cllike dnod orion skin) on the s00ace. The licensee
stated she waslledlhe lw\.il boloro il was 1«1 and ..,,.,. ctooposod of 81 IIUtlhal was bod. There-. also alleasl
lllree spidef$ 1n lhe relrlge<atot Tho lOP of lllis relrigoralor w;os Wttorod and dotty. Thoto we<e plastic fibs and -
jugs. 8 p;ece of wood, 8 Mile, and aheM>g on tho lOP There we<e also rodonl- and 6r1 on the lOP surface. 1n
!he S!Orage area between two storage buildings outlde 1t1e penmeter tence, there was fruil. veget.\tlles.. a...:t bread
stored outside Wth no rerng&ratiOf\ Thes6 wert SIOted nextiO rwo refrigefators that were ftJI of food. Thete was an
exte$$ive number of flies and OChef lying lnseas (gnats) presenc in &he area When the cover of a c:ontainer with fruit
was ~rted., a mass ol Illes and 04hef ~ng inMCII exl1ecl thl containet. Thete was at:so pieces ol Old fruit on the
ground near the food. The licensee Slated thai the food outside lhe refrigerators was not to be fed to the animals. In
the food storage area inside lhe education bulld"ng, there was e brown stain on lhe back interior surfaoe of the
fteezGf. There were also llg.ht tan areas on the top turtaoo of thG lip area of the l'tiSI ol tho freezer. There wete
pieces of insulation and rodent feces on me floor In lht.s area AI food stored near the food being fed to the animals
will be considered as animal food and must be kept cleat~ to tW'I&ure uncontaminated food lor the animals. The lood
musl bO stOfed approptlately and the food a.1orage area doanod moro troqoontty.




3.81           (c)      (2)
ENVIRONMENT ENHANCEMENT TO PROMOTE PSYCHOLOGICAL WELL·BEING.
Section 3.61(c)(2) • S()eclal cons.ldoraUons. Cor'laln nonhuman primates musl be prO\Iicled special attention regarding
enhancemem ot their environment, basod on tho noods of thO individual specie-s and in accordance with the
insuuctlons ot the attotdng vet9fll\at1an. Nonhuman ptimatos roquiring spoclal attontfon lndudn those that show
signs of being in psychological distress lhrough beha>Aor or appearance.

·····There was a non~human primate. named Cynthia , that was biting al her tall and other parts of her body. She
also had areas oC hair toss that are a.uogesllve of hair pluCking. These are abnormal behaviors that suggest the
animal is in psychological dlslre:S$. The animal waa housed In a dillerent enclosute until this May, when it was moved
to an enclosure ncxt1o the vorvct 11 was mcwecl lnto Its present enclosu-re




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after "'lPffximately 11vee weeks in lhe ~ eooosure, - · - os , _ - - a single-. The licensee
Slated lhe .,..,.. has hod these iss<Jes since she h a s - • · ~ 10 '"" licensee, the rinal got worse
wt10ft nwas ..o.a~y~ 1n lheveM~tendosure. btA had gtaruallygol1enbeC1« The-~
plan has..,. been ~od sinoe lhe animal has moved 10 1he , _ endoeu,. The plan must be up<laJed to reftect
!he ennctwnent pnwtded •n lhe new ~e. The plan must also addtta lhe PI)'Cholooiea• behaviol exhibiled by
;,._..,.- ,_..,
lite aroma! T h e - . must c1oc:urr«c t11e spedala!!OObOn and oonslclet~lllons given INs animal and p<ovlde h 10

To be ccwrec:a.d by. Aug 17, 2013.

3.84                 (a}                          REPEAT
CLEANING, SANinZATION, HOUSEKEEPING, AND PEST CONTROL.
REPEAT Section 3 64(8) · C'eaning of primary enclosures. Excreta and lood waste must be removed from inside
each indoOf pnmnry onctos.ure daily and from underneath them as otten aa nocossary to ptevenl an excessive
accumulation ot looos and lood wasto, to prevQflt th& noohuman prlma~os !rom bocomlng sollod. and to rocliJOO
disease hazards, lnseciS, pests, and odors.

"'""""The lntel'lof pottfon of Lhe el'llclosure housing Obi • a non·human ptlmate. had an excessive accumulation of feces
on the floor. Approllimalely fifty percent of the floor was covered with the packed down feoes. An exces.sive
accumulation ot waste can increase insects. pesls, and odors, and may harbor pathogens and play a rol& ~ cisease
transmiSSIOn. This onciosure musl be cleaned more trequenrly and the waSie removed dally.

3.84                 (d)                          REPEAT
CLEANING, SANITlZATION, HOUSEKEEPING, AND PEST CONTROL.
REPEAT SeeiJOn 3 &l(cl} · Pest oorcro1. Nl elf""""' prognlfl11o< ~ ollnoecls. eJCtemal parasites aHeaing
nonhumafl pnmalft and bltds and mammals that are pests, muse be es18bllilhecl and maintained so as to prc:moce
!he l'lealth and well·belng ot 100 arwnaJs and redlce contaminabOn by posts In ll'lfmm areas•

.... "There was en excesatve amoun1 or lites in the education budclng and In the tOOd a1orage area between the
storage buildings The flies In lhe education buiking wete on the noor and wall near the bush babies. The flies W€1(8
oonoentrated on lhe perishable food that was not refrigerated. Thete were elso r0den1 feces on the floor of the food
storage area inside the bulkling that housed the lemurs af'ld coari. There wos also rodent leoes on the lop ol the
refrigerator In t.hls nren and spiders on the wire surrounding tho s1orago aroa, Tho facility must establish and
maintain an elleolivo program fCH" the control of pests to promote the hoatth and welt·being of the animals and reduoe
conlamlnauon by posts In att animal areas and all fOOd storage areas. The oducaUon buUc:Ung must 00 cleaood mote
frequently and lhe food must be stored appropriately.




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3.125        (a)                                  REPEAT
 FACILITIES, GENERAL.
REPEAT Sectoon 3 125(a) • S1rucwral strength. Tholaeilo1y must be oonstructed ol soch material and ol soch
strength as appropriate lor the animail involved. The indoor and OU1d00r hOusing faciities shal be struaurally sound
and shall bO malntalnad In good repaw 10 protOCI the animals from lnjt.Hy and to contaan the animals.



one of the C01Ue enclosures    was-
· ···'The shelter in lhe kangaroo endolure was bfoken at the aop ~ the end where the opentng was located. This
broal< allowed !he S<de 10 Slide OUI ancl comprctnloed lM SUUCI.... wonglh ollha      -er.The opening of shel1e< WI
                                             and tllgged. Thoro was an area approxmalely four;-~ eigt< incheo
mo..ing lrom 1he S<de of lhe ope!Mg. The - e r on 1ho ~ onc:losufe was brCI<M and ragged allhe boltom
rigln of 1he opening The t10110m on 1hO . , _ metal on one - o f 1ho shol1ef ln 1he beat enclosure was rusled anc1
~ F.-..e 10 """""'"' ~ laclil""ln a struchnly aound manner oan oause r;ur, 10 1he irinals. AI
Slrud!Jresmusl be""""""'*' anclll..,c ........,., oound. The altadoei&N:W<es rnus1 be r - " ' - .



3.125          (c)
FACtLmES. GENERAL
Sectioo 3. t25(c) • StO<age SoPI>Iies of 100<1 and bedding shall be stored in faCIHffes which adequately pro<ect soch
SIJPJ)ies egaill:5l detetiotajon, molding, 0t contamitlalaOn by vttmin. Relrigeraoon shall be provided for supplies ol
perishable food.

.....The food s1orage are&$ wvre dtrty. In the storage area rna.de the lemur and coati buiking, there were rodent
feces, feathers, dwt, and d!'y lood kibble on the floor. There wet& spiders and oobwebs on the wire enclosing the
5torage area. The refrigerator In this area con1alned several pieces of fruit (apple5 and oranges) that were mok:ty
and/or rotten. Some pieces ol the hull had o sube:lance (looked like lt'ied onion skin) on the sul'lace. The licensee
stated she washed tho fruh OOfoto II was led and that she disposed ol all frull that was bad. There were also at least
three spiders in the refrigerator. The top of lhia retriooratOf was ctuHered and dirty. There w ere plastic tiA:ls and milk
jugs, a ptGCe of WOOd, a knife, and shelving on the top, Thoro wow also rodont loc-os and dirt on the top sur1aoe. In
the s1orage area between two stotago buiectings outside the perimeter fef'lce, there was fruit. vegetables. and bfead
slou~d outside with no refrigeration. Those wore atorod ne~C"tlo two relli0tlf8IOU; that were lull ot food. There was an
excossivo nurmor ol lllos and oth8f ltylng Insects (gnats} prosont In tho oroa, Whon the wver of a oontall'lOf' with fruit
was lifted, a mass of ftles and olher ltyfng Insecta e~elted the container. There was also pieces of old fruit on the
ground near lhe food. The licensee staled that thelood oul slde the refrigeralors was no! to be fed to the animals. In
the food s1orage area inside the education bulk:llng, there was a brown stain on the back Interior surface of the
freezer. There were also light tan areas on the top surface ot the lip area of !he rest of the freezer. There were
pieces ol i.nsutation and rodent laces on tne 11001 In this area. All food stored near the loOCI being fed to the animals
will be consldefed as animal food aM must be kept clean to ensure uncontaminated food 1or the animals. The food
mus.t be stored appropriately and the food •torage area cteanGCJ more lrequentty.
To be con&Cted by: Aug 17, 2013.




                                  JEFFREY E:t-J : ER. [• V M
Prepared By:
                     JEf REV T BAK    •    •
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                                                 Inspection Report



3.127               (d)
FACtlmES. OIITOOOR.
Sectioo 3 127(d) · Per\mel4r 1<nce On 0< after May 17, 2000, al OUidoo< housmg- ~.e.. faciilies no1 enlirely
indoors) mUSI be ~loled by a perimeter fence that is of sutlic:ienc he-ght to ~Wop Animal:$ and unauthorized persons
out. Fences less than 81aot high fCM' potentially dangerous animals, sucn as, but not llmitod to. large felines (e.g.,
lions, tigers, leopards. cougars. me), bears, wolves. rhincx:eros, and elephants, Of leN than 6 feet high for other
animals must be approved in Wl'iting by the AdministratClf. The fence must be constructed so that i1 protects the
animals In the tadllty by restricting a.nlmats and unauthorized petsons from going l.hrough it or under It and having
contact with the o.nlmals in lhe facility, and so that it can fune1ion as a S800nclary conuUnment system for the animals
in the facility. It muSI be ol sullicient distance from the outside ot the primoty enclosure to prevent physical contact
between animalS Inside the enclosure and animals or persons outsldo tho perlmotor tonoo. Such fences tess than 3
teet in distanco trom the primary enclosvre must be approved in writing by the Administrator .

.....There was a portion ol tlle perimeter fence svrrouncling the big cats, bears. and wolves that was not adequate.
There was a section apptOxWrlately 16 loot long that was only sh( feet high. The top olthis seaion was not secvrely
anaehed to the horizontal support bar at all points. The h0ri2ontal juncalon ot two soctlons ol w.ro ifl thiS area was not
setufe. There was 1 gap in the fence that could be pushed apart to allow lf'limats to enter or em the area. The
perimeter fence m!JSI be at least &iQht teet ljgh tor dangerous anmail and mua.t be kepi in good repa.. This area
muSI be S1abilozed and oonflgur9d 10 , _ lhe peMieler fence reqwemeru.
T o b e - b y· Augusll7, 2013.



3.130                                            REPEAT
WATIORING.
REPEAT Section 3.130 • If potable water is not accessible to the animals at all times. rt mu~ be provided as often
as necessary tor the hHIIh and comton of the animaL Freqvenc:y of watering shall consider age. species, condition,
sao. and typo ol th<l animal. All water roceptackls shall bO kapc cto.an and sanitary

·····rhere were at klast live enclosures hou:Sing six animals that had d•rty warer receptacles.The interiol surface ol
the watet t9COPI3CIOwas a green color In all of these eoctosures. There were gtovel and din oo the bonom of the
water receptacle In one of lhe coyote enclosures. Water receptacles mvsl be maintained in a <::lean and sanitary
condition In Older to onturethat the animals are ptOVided with clean, pocablt water. and to en.sure that they maintain
adequate hydration. Th0$0 water recep(acles must be cklancd moro frequently.




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3.131                (I)                             REPEAT
SANITAT10N.
REPEAT      Seellon 3 131(8) • CleatWig of enclosures. Excr01a slid be remo.ed ~om primaly enclos<Jres as often as
neoes.sary to ptewnt c:on1M"'N'lion of Che animals conrained thefein and to m.n.miz.e dsease hazards and 10 reriJoe
OdOrS. Wl'len endosuret: are deanod by hosing 01 bhlng. adequate Me851.Jres shall be taken 10 proltlCI !he an.mats
confined in sud'! tncloaures from being direaty sprayed with the stream of watet or wetted involl,.,tarity.

·····roo enetosu1e housing two bears had an excessive aocumutallon ol feces present on 111e ground. There were
pites of the Ieee~ present throughout the enclosure. There was an e)latsslve accumt.Aation of feoes on the floor in the
shelter olthe enclosure housing the ca~ra. Animal enclosures mu$1 be cleaned routinely in Otder to provide lor
appropriate animal husbandry standards, to reduce disease transmi:s.s.ion. and to prevent the animals from becoming
oontaminatod or SOiled. The licoosee must clean these enc:tosurea and oosure that all enclosures housi:ng animals
are cleaned as ollon as noccssaty 10 PfOmote approp.-ial$ hUSbandry standards.



3 .131               (d)                             REPEAT
SANITATION.
REPEAT SedJOn 3 131 (d) Pes! Control. A sate and eftectNe program 1o< 11>o c:on1ro1 ol inseas, eaoparasiles,
and e:\4an and mammakan pesu shal be established and maintained.

·····tn 11>o -             areo ....,..,. lemur and ooai ~ lhore - • rodoll 1oces on 11>o ftoor and on ;op of lhe
refrigerator. Thete wete atso alleaSI ttvee spiders inside the refngtratot. lhtfe wate spderS and oobweb:s on lhe
wire tW1dosong 11>o I10fliQO wea In 1he skltage area      be•-•1WO S10faOO ~ - l h e perimele<lence.
111e<e was on oxceaaiYe ,..,_ o f - and olherllying insec:ls (gnall) -              in 1he erN. When 1he """"'ol a
oontainer wtth fruit was Wted. a mass of tl.es and othet ltywlg 1nsects exfted thot containet. In the eduCation building,
ttwwe ~re roelenl feces on lhe floor. There wete also an excessM:I amount ol flies on the watts, floor, on a piece of
cauliflower, and on the bedding in the enclosures. Disease can be vanamltted b)' the pests to the animars and can
ccntamlnate feed and watOf. The licensee must establish and maintain an eiiQCtlvo progtam lor the contrOl of pe:stS
to promoto cno hea.tth a.nct wel~being of the animals and reduoe cootamln.aUon by pes.IS In all animal areas. These
areM mua. abo be cleaned mQ(e frequefltly.


3.132
EMPLOYEES.
Section a. 132 Emptoyees. A sufficient nlK!lber of adequately tralned omployeOJ shall be utilized to main1ain me
professionally aoceptabltlevel 01 husbandry practices set to"h in this subpart Such practices shal be under a
supeMsof who has a baCkground In arwnal care.

····'There ate not an adlquate nurtmer 01 ~yees a1 the zoo. The CUI'Tent and past il"'&peelion reports
demonslta!elhalll>o --load exceeds !he Slafling 1eYel. Tha<e are noc enough ..-ms presen1 when
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stondaldl.    Tho-.""'..-
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lhe pobllc has access to the animals, and !here not enough~ to dean to,_ OfliJ'<ll)riate r..st>andry
                                  ror l h e - and ...... t>eong o1 the-. The staHong- nust be mcreasod.,
                                                                            bodoctoas<ldto apoontsothe
prose~'< stilt ean oooom''''datelhe nee<1s ollhe arimals and ,_the requorementS of the Animal Welfate Act.
Tobecor-by: August t7,20t3.




An exl1 bflofing was conducted with a facitity representative.




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